                        Case 2:15-md-02641-DGC Document 3588-1 Filed 10/05/16 Page 1 of 2
                                               UNITED STATES DISTRICT COURT
                                                    DISTRICT OF ARIZONA


                                                      Civil Cover Sheet
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  data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained herein neither
  replaces nor supplements the filing and service of pleadings or other papers as required by law. This form is authorized for use only in the District
  of Arizona.

        The completed cover sheet must be printed directly to PDF and filed as an attachment to the
                                    Complaint or Notice of Removal.

                                                                                                  C.R. Bard Inc. ; Bard Peripheral
   Plaintiff(s): Stephanie Murriell                                           Defendant(s):
                                                                                                  Vascular, Inc.
   County of Residence: Outside the State of Arizona                          County of Residence: Outside the State of Arizona
   County Where Claim For Relief Arose: Outside the State
   of Arizona


   Plaintiff's Atty(s):                                                       Defendant's Atty(s):
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  II. Basis of Jurisdiction:                   4. Diversity (complete item III)

  III. Citizenship of Principal Parties
   (Diversity Cases Only)
                             Plaintiff:- 2 Citizen of Another State
                           Defendant:- 5 Non AZ corp and Principal place of Business outside AZ



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                        Case 2:15-md-02641-DGC Document 3588-1 Filed 10/05/16 Page 2 of 2
  IV. Origin :                        1. Original Proceeding

  V. Nature of Suit:                         367 Health Care/Pharmaceutical Personal Injury Product Liability

  VI.Cause of Action:                        28 USC 1332 (diversity jurisdiction). This is a medical device products liability
                                              action for injuries resulting from an IVC filter.
  VII. Requested in Complaint
                       Class Action: No
                     Dollar Demand:
                      Jury Demand: Yes

   VIII. This case IS RELATED to Case Number MD-15-02641-PHX-DGC assigned to Judge David G. Campbell.

  Signature: Ahmed S. Diab

          Date: 
10/05/2016

  If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser and
   change it. Once correct, save this form as a PDF and include it as an attachment to your case opening documents.

  Revised: 01/2014




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